                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

ROBERT WARD and DILLON GASTON,
    Plaintiffs,

v.                                     CASE NO.: 6:23-cv-00500-WWB-EJK

HUVI, INC.,
     Defendant.
______________________________________________/

            APPLICATION FOR CLERK’S ENTRY OF DEFAULT

        The Plaintiffs, Robert Ward and Dillon Gaston, request that the Clerk of the

Court enter default against Defendant Huvi, Inc. pursuant to Rule 55(a) of the

Federal Rules of Civil Procedure. As set forth in the executed Verified Return of

Service (Dkt. 6), Defendant was served by Benny Gonzalez of S&W Process Service

on March 28, 2023, at 3:50 PM ET. Since being served, Defendant was required to

serve a responsive pleading within 21 days, or by April 18, 2023. Fed. R. Civ. P.

12(a)(1)(A)(i). Defendant has not yet filed a responsive pleading as required by the

Rule.

        WHEREFORE, the Plaintiffs Robert Ward and Dillon Gaston respectfully

request that the Clerk of the Court enter default against Defendant Huvi, Inc.

Dated: April 20, 2023,                              Respectfully Submitted,

                                                    /s/ Kathryn C. Hopkinson
                                                    Kathryn C. Hopkinson, Esq.
                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 20th day of April 2023, a true and correct

copy of the foregoing document was filed with the Court’s CM/ECF filing service,

and a copy of the foregoing was served via process server and electronic mail to the

following party:

      Huvi, Inc.
      c/o Steven Sheldon, Registered Agent
      1745 Oviedo Mall Boulevard
      Oviedo, Florida 32765
      steve@myhuvi.com

                                             Respectfully Submitted,

                                             /s/ Kathryn C. Hopkinson
                                             Kathryn C. Hopkinson, Esq.
                                             khopkinson@hopkinsonlawfirm.com

                                             HOPKINSON LAW, LLC

                                             210 North Excelda Avenue
                                             Tampa, FL 33609
                                             M: (508) 274-9169
                                             O: (813) 816-1514

                                             Counsel for the Plaintiffs
